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 6

 7                                UNITED STATES DISTRICT COURT
 8                               NORTHERN DISTRICT OF CALIFORNIA
 9                                    SAN FRANCISCO DIVISION
10
                                                    )
11                                                  ) Case No: 3:21-CR-00374-MMC
     UNITED STATES OF AMERICA,                      )
12                                                  )
                    Plaintiff,                      )  TEMPORARILY WITHDRAWAL
13                                                  )  OF DEFENSE’S ADDITIONAL
            vs.                                     )  STIPULATIONS
14                                                  )
     JOSEPH HUFFAKER,                               )
15                                                  )
                    Defendant.                      )
16                                                  )
                                                    )
17                                                  )

18          The Defense temporarily withdraws its previously filed Stipulations (file #301 as of June

19   17, 2025) because the government has yet to fully consent to the stipulations despite having been

20   sent the proposal several weeks ago and the government indicating to the defense that it did not
21   see any problems with the stipulations.
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     DATED: June 18, 2025                          By: /s/ Richard Ceballos
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                                                   Richard Ceballos
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                                                   Attorney for Defendant Joseph Huffaker
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             MOTION IN LIMINE TO PRECLUDE GOVERNMENT FROM CALLING WITNESS
                                                   Case No. 3:21-CR-00374-MMC
